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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY

                                              :

Robert Morgan,                                :

                Plaintiff,                    :        Civil Case No.:

vs.                                           :

GC Services, LP.,                             :

                Defendant.                    :

                                              :



                                    VERIFIED COMPLAINT

         Plaintiff, Robert Morgan (Plaintiff), through his attorneys, The Law Offices of Jennifer

M. Kurtz, LLC, alleges the following against Defendant, GC Services, LP (Defendant):

                                        INTRODUCTION

      1. Count I of Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act

         (FDCPA), 15 U.S.C. 1692, et seq.

                                             PARTIES

      2. Plaintiff is a natural person residing at 644 Monroeville Rd, Monroeville, New Jersey

         08343-2513.
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 3. Defendant is a national debt collection corporation with a business office located in

    Houston, Texas.

 4. Plaintiff is a consumer as that term is defined by 15 U.S.C. 1692a(3), and according to

    Defendant, Plaintiff allegedly owes a debt as that term is defined by 15 U.S.C. 1692a(5).

 5. Defendant is a debt collector as that term is defined by 15 U.S.C. 1692a(6), and sought

    to collect a consumer debt from Plaintiff.

 6. Defendant acted through its agents, employees, officers, members, directors, heirs,

    successors, assigns, principals, trustees, sureties, subrogees, representatives, and

    insurers.

                              JURISDICTION AND VENUE

 7. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that such

    actions may be brought and heard before “any appropriate United States district court

    without regard to the amount in controversy.”

 8. Defendant conducts business in the State of New Jersey, and therefore, personal

    jurisdiction is established.

 9. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                   FACTUAL ALLEGATIONS

 10. In or around December of 2012, Defendant placed collection calls to Plaintiff seeking

    and demanding payment for an alleged consumer debt.

 11. Plaintiff’s alleged debt owed arises from transactions for personal, family, and household

    purposes on an American Express account number ending in 52005.

 12. Defendant called Plaintiff’s home telephone number at 609-534-26XX.

 13. Defendant called Plaintiff’s home basement telephone number at 856-497-41XX.




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 14. Defendant called Plaintiff’s cellular telephone number at 856-521-57XX.

 15. On December 7, 2012, Defendant called Plaintiff and left a voicemail message on

    Plaintiff’s answering machine. See transcribed voicemail message attached hereto as

    Exhibit A.

 16. In the voicemail message, Defendant failed to meaningfully disclose the company’s

    name, the nature of the call, or state that the call was from a debt collector. See Exhibit

    A.

 17. In the voicemail message, Defendant directed Plaintiff to return the call to telephone

    number 1-314-851-4336, extension 3035, which is a number that belongs to Defendant.

    See Exhibit A.

 18. On December 8, 2012, Defendant called Plaintiff and left a second voicemail message on

    Plaintiff’s answering machine. See transcribed voicemail message attached hereto as

    Exhibit B.

 19. In the second voicemail message, Defendant failed to meaningfully disclose the

    company’s name, the nature of the call, or state that the call was from a debt collector.

    See Exhibit B.

 20. In the second voicemail message, Defendant directed Plaintiff to return the call to

    telephone number 1-314-851-4336, extension 3035, which is a number that belongs to

    Defendant. See Exhibit B.

 21. On December 12, 2012, Defendant called Plaintiff and left a third voicemail message on

    Plaintiff’s answering machine. See transcribed voicemail message attached hereto as

    Exhibit C.

 22. In the third voicemail message, Defendant’s representative, “James Taylor,” failed to




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    meaningfully disclose the nature of the call or state that the call was from a debt

    collector. See Exhibit C.

 23. In the third voicemail message, Defendant’s representative, “James Taylor,” directed

    Plaintiff to return the call to telephone number 1-614-851-4336, extension 3035, which

    is a number that belongs to Defendant. See Exhibit C.

 24. On December 14, 2012, Defendant called Plaintiff and left a fourth voicemail message

    on Plaintiff’s answering machine. See transcribed voicemail message attached hereto as

    Exhibit D.

 25. In the fourth voicemail message, Defendant failed to meaningfully disclose the

    company’s name, the nature of the call, or state that the call was from a debt collector.

    See Exhibit D.

 26. In the fourth voicemail message, Defendant’s representative, “James Taylor,” directed

    Plaintiff to return the call to telephone number 1-314-851-4336, extension 3043, which

    is a number that belongs to Defendant. See Exhibit D.

 27. On December 15, 2012, Defendant called Plaintiff and left a fifth voicemail message on

    Plaintiff’s answering machine. See transcribed voicemail message attached hereto as

    Exhibit E.

 28. In the fifth voicemail message, Defendant’s representative, “James Taylor,” failed to

    meaningfully disclose the nature of the call or state that the call was from a debt

    collector. See Exhibit E.

 29. In the fifth voicemail message, Defendant’s representative, “James Taylor,” directed

    Plaintiff to return the call to telephone number 1-614-851-4336, extension 3035, which

    is a number that belongs to Defendant. See Exhibit E.




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   30. Defendant is using false, deceptive and misleading means in connection with attempting

       to collect a debt by not identifying the purpose of its phone calls or that they are an

       attempt to collect a debt.

                             COUNT I
    DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   31. Defendant violated the FDCPA based on the following:

          a. Defendant violated §1692d of the FDCPA by engaging in conduct the natural

              consequence of which was to harass, oppress, or abuse Plaintiff in connection

              with the collection of a debt.

          b. Defendant violated §1692d(6) of the FDCPA by placing telephone calls without

              meaningful disclosure of the caller’s identity.

          c. Defendant violated §1692e of the FDCPA by using false, deceptive or misleading

              representation with the collection of the debt.

          d. Defendant violated §1692e(10) of the FDCPA by using deceptive means in an

              attempt to collect a debt.

          e. Defendant violated §1692e(11) of the FDCPA by failing to disclose that the call

              was from a debt collector.

       Wherefore, Plaintiff, Robert Morgan, respectfully requests judgment be entered against

Defendant, GC Services, LP. for the following:

   32. Statutory damages of $1,000.00 pursuant to the Fair Debt Collection Practices Act, 15

       U.S.C. 1692k.

   33. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection Practices Act,

       15 U.S.C. 1692k.

   34. Any other relief that this Honorable Court deems appropriate.



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                  CERTIFICATION PURSUANT TO LOCAL RULE 11.2

       Pursuant to Local Rule 11.2, I certify that this matter in controversy is not the subject of

any other action pending in any court, arbitration, or administrative proceeding.



  DATED: February 8, 2013             The Law Offices of Jennifer M. Kurtz, LLC


                                      By: /s/ Jennifer M. Kurtz

                                             Jennifer M. Kurtz
                                             Attorney for Plaintiff,
                                             Robert Morgan




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